     Case 2:18-cv-02421-JFW-E Document 52 Filed 05/31/18 Page 1 of 7 Page ID #:601



1    COVINGTON & BURLING LLP
     Mitchell A. Kamin (Bar No. 202788)
2     mkamin@cov.com
     Neema T. Sahni (Bar No. 274240)
3     nsahni@cov.com
     Mark Y. Chen (Bar No. 310450)
4     mychen@cov.com
     Rebecca G. Van Tassell (Bar No. 310909)
5     rvantassell@cov.com
     1999 Avenue of the Stars, Suite 3500
6    Los Angeles, CA 90067-4643
     Telephone: + 1 424-332-4800
7    Facsimile: + 1 424-332-4749
8    Attorneys for Defendant State of Qatar
9    [Additional counsel listed on signature page]
10

11                             UNITED STATES DISTRICT COURT
12                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
13                                       WESTERN DIVISION
14
      BROIDY CAPITAL MANAGEMENT LLC                           Civil Case No.:
15    and ELLIOTT BROIDY,
                                                              2:18-CV-02421-JFW-(Ex)
16
            Plaintiffs,                                       [Assigned to Hon. John F. Walter]
17
            v.
18                                                            JOINT STATEMENT REGARDING
19    STATE OF QATAR, STONINGTON                              LOCAL RULE 7-3 PRE-FILING
      STRATEGIES LLC, NICOLAS D.                              CONFERENCE ON DEFENDANTS’
20
      MUZIN, GLOBAL RISK                                      INTENTION TO FILE MOTIONS
21    ADVISORS LLC, KEVIN CHALKER,                            TO TEMPORARILY STAY ALL
      DAVID MARK POWELL,                                      DISCOVERY
22
      MOHAMMED BIN HAMAD BIN
23    KHALIFA AL THANI, AHMED
      AL-RUMAIHI, and DOES 1-10,                              Complaint Filed: March 26, 2018
24
25          Defendants.
26

27
28
                        JOINT STATEMENT REGARDING LOCAL RULE 7-3 PRE-FILING CONFERENCE ON
                     DEFENDANTS’ INTENTION TO FILE MOTIONS TO TEMPORARILY STAY ALL DISCOVERY
     Case 2:18-cv-02421-JFW-E Document 52 Filed 05/31/18 Page 2 of 7 Page ID #:602



1
            In accordance with Section 5(b) of this Court’s Standing Order, this is the joint
2
     statement of Plaintiffs Broidy Capital Management LLC and Elliott Broidy (“Plaintiffs”),
3
     Defendant State of Qatar (“Qatar”), and Defendants Nicolas Muzin and Stonington
4
     Strategies (collectively, “Stonington Defendants,” and together with Qatar, “Original
5
     Defendants”)1 regarding the parties’ pre-filing conference of counsel pursuant to Local
6
     Rule 7-3.
7
     I.    Factual Background
8
           The parties’ initial Local Rule 7-3 conference took place via teleconference at 8:00
9
     a.m. Pacific Time on April 26, 2018—prior to Plaintiffs’ filing of the First Amended
10
     Complaint on May 24, 2018. Amy L. Neuhardt and Robert J. Dwyer of Boies Schiller
11
     Flexner LLP participated on behalf of the Plaintiffs. Mitchell A. Kamin, Jonathan
12
     Gimblett, Neema T. Sahni, and Rebecca Van Tassell of Covington & Burling LLP
13
     participated on behalf of Defendant Qatar. Stephen J. Obermeier, Matt Gardner, and
14
     Rebecca Fiebig of Wiley Rein LLP participated on behalf of the Stonington Defendants.
15
     The teleconference lasted approximately thirty minutes.
16
           Following that teleconference, counsel for Qatar circulated a draft L.R. 7-3 Joint
17
     Statement that same day to all parties. Plaintiffs then alerted Original Defendants by e-
18
     mail on April 27, 2018 that they intended to amend their Complaint. Thereafter, the
19
     parties, by and through their respective counsel, had a further meet-and-confer
20
     teleconference on April 30, 2018 to discuss Plaintiffs’ plans for amending the Complaint.
21
     Over the next few days, the parties exchanged additional e-mails in order to negotiate a
22
     stipulated schedule for filing and responding to Plaintiffs’ forthcoming amended
23

24
     1
25     In the First Amended Complaint dated May 24, 2018, Plaintiffs named the following
     additional defendants in this litigation: Global Risk Advisors LLC, Kevin Chalker,
26   David Mark Powell, Mohammed Bin Hamad Bin Khalifa Al Thani, and Ahmed Al-
     Rumaihi. These new defendants are not party to the motion the Original Defendants seek
27   to file.
28                                                    1
                       JOINT STATEMENT REGARDING LOCAL RULE 7-3 PRE-FILING CONFERENCE ON
                    DEFENDANTS’ INTENTION TO FILE MOTIONS TO TEMPORARILY STAY ALL DISCOVERY
     Case 2:18-cv-02421-JFW-E Document 52 Filed 05/31/18 Page 3 of 7 Page ID #:603



1
     complaint, for a limited stay of discovery through June 4, 2018, and for filing further
2
     motions to stay discovery thereafter. Their agreed-upon schedule was filed as a
3
     stipulation on May 4, 2018, and entered as an order by the Court on May 7, 2018. Dkts.
4
     45, 46.
5
           The Court’s May 7, 2018 Order states that “[a]ny motions for a further stay of
6
     discovery may be filed on or after June 4, 2018, with any oppositions to be filed 7 days
7
     thereafter, and any replies filed no later than 7 days after the filing of any such
8
     opposition.” On May 28, 2018, Defendant Qatar and the Stonington Defendants each
9
     notified Plaintiffs by e-mail that they would be moving for a further discovery stay on
10
     June 4 in accordance with the May 7, 2018 Order, in each case, on the same grounds as
11
     those raised by Qatar and the Stonington Defendants, respectively, at the parties’ initial
12
     April 26 L.R. 7-3 conference.
13
     II.   The Parties’ Positions on Defendants’ Motions to Temporarily Stay All
14         Discovery
15         At the April 26 conference, Defendant Qatar informed Plaintiffs that it would be
16   filing a motion to temporarily stay all discovery in this matter—including discovery
17   directed to the Stonington Defendants and third parties—pending a decision on Qatar’s
18   then-forthcoming Motion to Dismiss.2
19
20
     2
       The parties conferred on that motion as well at the April 26 conference, as well as on
21   the Stonington Defendants’ separate motion to dismiss. Specifically, Qatar explained it
22
     would move to dismiss the Complaint on the grounds that (1) subject matter jurisdiction
     and personal jurisdiction is lacking as to Qatar because Qatar is immune from suit under
23   the Federal Sovereign Immunities Act, and (2) the Complaint does not plausibly allege
     that the government of Qatar perpetrated the purported hack underlying each of
24   Plaintiffs’ substantive causes of action. The Stonington Defendants stated they would
     also be moving to dismiss on subject matter and personal jurisdictional grounds, for
25   improper venue, and because the Complaint lacks specific allegations that the Stonington
     Defendants accessed Plaintiffs’ computers, unlawfully obtained any e-mails, and/or
26   disseminated hacked or forged e-mails to third parties.
27
28                                                     2
                        JOINT STATEMENT REGARDING LOCAL RULE 7-3 PRE-FILING CONFERENCE ON
                     DEFENDANTS’ INTENTION TO FILE MOTIONS TO TEMPORARILY STAY ALL DISCOVERY
     Case 2:18-cv-02421-JFW-E Document 52 Filed 05/31/18 Page 4 of 7 Page ID #:604



1
           Qatar explained its position that courts, including in this District, are in accord that
2
     when a foreign sovereign raises a threshold jurisdictional challenge on sovereign
3
     immunity grounds, discovery may be properly stayed. Limited jurisdictional discovery
4
     may be permitted where absolutely necessary, but that is not the case here as the
5
     jurisdictional defects Qatar intends to raise are clear from the face of the Complaint.
6
           Qatar further explained its position that discovery should be stayed not only as to
7
     it, but also as to the other Defendants and third parties. Any such discovery necessarily
8
     implicates Qatar’s interests and its consular immunities under the Vienna Convention,
9
     thus requiring Qatar to involve itself in discovery to protect those interests and
10
     immunities.
11
           The Stonington Defendants informed Plaintiffs they would be filing a similar
12
     motion to stay, in particular because the personal and subject matter jurisdiction issues as
13
     to such Defendants are substantial. In light of the jurisdictional issues—which the Court
14
     has already identified as significant—the Stonington Defendants do not see any reason
15
     why discovery responses by them or any third party should be due while those issues
16
     remain unresolved.
17
           Plaintiffs disagreed with Defendants’ position that the Vienna Convention protects
18
     from disclosure documents belonging to lobbyists and other non-party U.S. nationals and
19
     that a complete stay of discovery is therefore warranted here. Plaintiffs further stated
20
     they would oppose any motions seeking a temporary stay. They believe that this Court’s
21
     standing order instructs the parties to begin conducting discovery before the Rule 26(f)
22
     conference, and the Court directed the parties in this case to follow that order even after it
23

24
     Both Qatar and the Stonington Defendants anticipate moving to dismiss the First
25   Amended Complaint (“FAC”) in accordance with the schedule set forth in the Court’s
     May 7, 2018 Order, in each case, on grounds similar to those discussed by the parties at
26   the April 26 conference. In accordance with Local Rule 7-3, Original Defendants will
     separately confer with Plaintiffs on those likely motions in accordance with the timetable
27   set forth in that rule.
28                                                     3
                        JOINT STATEMENT REGARDING LOCAL RULE 7-3 PRE-FILING CONFERENCE ON
                     DEFENDANTS’ INTENTION TO FILE MOTIONS TO TEMPORARILY STAY ALL DISCOVERY
     Case 2:18-cv-02421-JFW-E Document 52 Filed 05/31/18 Page 5 of 7 Page ID #:605



1
     had been made aware of Defendants’ jurisdictional challenges. In addition, Plaintiffs
2
     stated they are entitled to jurisdictional discovery. Plaintiffs further explained that
3
     discovery is necessary to their motion for injunctive relief, which the Court invited them
4
     to file, and the sooner they can enjoin any further dissemination and publication of news
5
     stories based on the stolen e-mails, the better.
6
           Following the parties’ April 26 conference and their agreement on a limited
7
     discovery stay through June 4, Plaintiffs filed their FAC on May 24, 2018. After
8
     reviewing the FAC, Qatar and the Stonington Defendants separately alerted Plaintiffs
9
     that, as contemplated by the Court’s May 7, 2018 Order, they would be seeking a further
10
     stay of all discovery on June 4 on the same grounds as those discussed at the initial
11
     conference, thereby confirming their respective intentions to also move to dismiss the
12
     FAC. Plaintiffs have not changed their positions on Original Defendants’ requests for a
13
     further stay.
14
15

16    Dated: May 31, 2018                             COVINGTON & BURLING LLP
17
                                                      By: /s/ Mitchell A. Kamin
18                                                    Mitchell A. Kamin
                                                      Email: mkamin@cov.com
19
                                                      1999 Avenue of the Stars, Suite 3500
20                                                    Los Angeles, CA 90067-4643
                                                      Telephone: + 1 424-332-4800
21
                                                      Facsimile: + 1 424-332-4749
22
                                                      Attorneys for Defendant State of Qatar
23

24
25
      Dated: May 31, 2018                             BOIES SCHILLER FLEXNER LLP

26                                                    By: /s/ Lee S. Wolosky
27
                                                      Lee S. Wolosky

28                                                     4
                        JOINT STATEMENT REGARDING LOCAL RULE 7-3 PRE-FILING CONFERENCE ON
                     DEFENDANTS’ INTENTION TO FILE MOTIONS TO TEMPORARILY STAY ALL DISCOVERY
     Case 2:18-cv-02421-JFW-E Document 52 Filed 05/31/18 Page 6 of 7 Page ID #:606



1                                                   Email: lwolosky@bsfllp.com
2                                                   Robert J. Dwyer
                                                    Email: rdwyer@bsfllip.com
3                                                   575 Lexington Ave., 7th Floor
4                                                   New York, NY 10022
                                                    Telephone: +1 212-446-2300
5                                                   Facsimile: + 1 212-446-2350
6
                                                    Attorneys for Plaintiffs
7

8
      Dated: May 31, 2018                           WILEY REIN LLP
9
10                                                  By: /s/ Matthew J. Gardner
                                                    Matthew J. Gardner
11                                                  Email: mgardner@wileyrein.com
12                                                  1776 K Street NW
                                                    Washington, DC 20006
13                                                  Telephone: +1 202-719-7049
14
                                                    Attorneys for Defendants Nicolas D. Muzin
15                                                  and Stonington Strategies LLC
16

17
18

19
20

21

22
23

24
25

26

27
28                                                   5
                      JOINT STATEMENT REGARDING LOCAL RULE 7-3 PRE-FILING CONFERENCE ON
                   DEFENDANTS’ INTENTION TO FILE MOTIONS TO TEMPORARILY STAY ALL DISCOVERY
     Case 2:18-cv-02421-JFW-E Document 52 Filed 05/31/18 Page 7 of 7 Page ID #:607



1                                 SIGNATURE CERTIFICATION
2           Pursuant to L.R. 5-4.3.4(a)(2)(i), I hereby attest that all other signatories listed, and
3    on whose behalf the filing is submitted, concur in the filing’s content and have authorized
4    this filing.
5
6
7
     DATED: May 31, 2018                       COVINGTON & BURLING LLP
8
                                                /s/ Mitchell A. Kamin
9
                                               Mitchell A. Kamin
10

11
12
13

14
15

16

17
18

19
20

21

22
23

24
25

26

27
28                                                     6
                        JOINT STATEMENT REGARDING LOCAL RULE 7-3 PRE-FILING CONFERENCE ON
                     DEFENDANTS’ INTENTION TO FILE MOTIONS TO TEMPORARILY STAY ALL DISCOVERY
